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 7
                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9

10
     KATRINA CALDERON and DANIELLE                    Case No.
11   CALDERON, individually and on behalf of all
     others similarly situated,
12                                                    CLASS ACTION COMPLAINT
13                                      Plaintiffs,
            v.
                                                      JURY TRIAL DEMANDED
14
     META PLATFORMS, INC.
15
                                       Defendant.
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 1                                      NATURE OF THE ACTION
 2          1.      This is a putative class action against Defendant Meta Platforms, Inc., fka Facebook,
 3   Inc. (“Meta” or “Facebook”) for wiretapping electronic communications on major on-line tax filing
 4   websites offered by H&R Block, TaxAct, and TaxSlayer. As a result of this wiretapping, U.S
 5   consumers have been transmitting their sensitive financial information to Meta when they file their
 6   taxes online. This information has included things like income, refund amounts, filing status, the
 7   names of dependents, and scholarship information.
 8          2.      The device that made this wiretapping possible is Meta’s ubiquitous tracking pixel,
 9   which is embedded in the JavaScript of online tax preparation websites, and which is part of a
10   larger set of free “business tools” that Meta offers to website owners. This pixel gathers
11   information from website visitors even if they do not have a Meta account.
12          3.      Disclosing tax-return information without consent is a crime. 26 U.S. § 7216.
13   Aiding and abetting the unlawful disclosure of tax-return information is a crime. Inspecting
14   unlawfully obtained tax-return information is a crime. 26 U.S. § 7213A(a)(2).
15          4.      This action is brought on behalf of Plaintiffs and a putative class of all people in the
16   United States who used the online tax preparation providers H&R Block, TaxAct, or TaxSlayer
17   while those websites had the Meta pixel installed on them. This action also seeks to certify a
18   putative subclass of Californians who used the same websites. The complaint alleges violations of
19   state and federal wiretapping laws.
20                                             THE PARTIES
21          5.      Plaintiff Katrina Calderon is domiciled in California and lives in Salinas. For the
22   year 2021, Ms. Calderon used TaxAct’s website to file her taxes online. At that time, the website
23   utilized Facebook’s tracking pixel. Ms. Calderon also has a Facebook account.
24          6.      Plaintiff Danielle Calderon is domiciled in California and lives in Castro Valley.
25   For the year 2021, Ms. Calderon used Tax Slayer’s website to file her taxes online. At that time,
26   the website utilized Facebook’s tracking pixel. Ms. Calderon also has a Facebook account.
27          7.      Meta is a California corporation with its headquarters in Menlo Park, California.
28   Facebook does business throughout California.


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 1                                     JURISDICTION AND VENUE
 2          8.       This Court has subject matter jurisdiction over this class action. This Court has
 3   personal jurisdiction over Meta because it is headquartered in this State.
 4          9.       Venue is proper in this Court because Meta conducts business in this County and
 5   throughout the State of California and its principal place of business is in this County.
 6                                         STATEMENT OF FACTS
 7               The Evolution Of Meta’s Business Model: From Social Media to Surveillance
 8          10.      Meta operates Facebook.com, and is the world’s largest social media company.
 9          11.      Within 10 months of Facebook.com’s initial launch, the site reached 1 million active
10   users, quickly swelling to 30 million less than three years later. As its user base grew, so too did
11   interest from investors. By late 2007, interest turned to clamor, and after rejecting a steady flow of
12   proposed investments and buyouts, Meta (then called “Facebook”) settled on an offer from
13   Microsoft, agreeing to a $240 million investment for a 1.6 percent stake, which extrapolated to an
14   eye-popping valuation: $15 billion.
15          12.      Commentators scrutinized the deal, pointing to the gaping disparity between
16   Facebook’s valuation and its revenue. “When a startup shows an estimated $150 million in
17   revenue, isn’t wildly profitable, and doesn’t have a clear revenue model, no company in its right
18   mind would give it a $15 billion valuation – except, it seems, if we’re talking about Facebook.” In
19   short order, Meta/Facebook set about crafting that revenue model.
20          13.      Because Facebook offered access to its platform for free, users were exactly that—
21   users, not customers. Rather than find a way to make them customers, Facebook made them the
22   products. Facebook planned to mine its platform and third-party websites for insights it could use
23   to target and customize advertisements for businesses. User activity served as the raw materials
24   that Facebook analyzed and dissected for inferences answering its ultimate question: what
25   advertisement, from which company, for which user, will have maximal impact. The better
26   Facebook could answer that question, the better it could “improve the effectiveness of the ads and
27   recruit new advertisers who want to pitch their messages to refined slices of the online audiences.”
28   Facebook announced this new business model on November 6, 2007.


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 1          14.     As that date approached, details leaked about its soon-to-be launched advertising
 2   system, with one clear takeaway: “Facebook is going to be gunning hard to get lots and lots of
 3   third-party data about its users into its database.” On November 6, 2007, Facebook unveiled its
 4   new ad system, “Facebook Ads,” pitching it as a way “for businesses to connect with users and
 5   target advertising to the exact audiences they want.” The new system had three component parts:
 6   Social Ads, which let businesses build Facebook pages and create advertisements featuring a user’s
 7   interaction with those pages; Insights, which let businesses track how those social ads spread
 8   among users; and the Beacon program.
 9          15.     In 2021, Meta generated $117 billion in revenue. Roughly 97% of that came from
10   selling advertising space.
11          16.     Meta sells advertising space by highlighting its ability to target users.
12          17.     Meta describes itself as a “real identity platform,” meaning users are allowed only
13   one account and must share “the name they go by in everyday life.” To that end, when creating an
14   account, users must provide their first and last name, along with their birthday and gender.
15          18.     Meta maintains profiles on users that include users’ real names, locations, email
16   addresses, friends, likes, and communications that Meta associates with personal identifiers
17   including IP addresses, cookies, and device identifiers.
18          19.     Meta can target users so effectively because it surveils user activity both on and off
19   its site. This allows Meta to make inferences about users beyond what they explicitly disclose, like
20   their “interests,” “behavior,” and “connections.” Meta compiles this information into a generalized
21   dataset called “Core Audiences,” which advertisers use to apply highly specific filters and
22   parameters for their targeted advertisements.
23                            The Wiretapping Device: Meta’s Tracking Pixel
24          20.     Meta offers a suite of so-called Business Tools that it claims “help website owners
25   and publishers, app developers and business partners, including advertisers and others, integrate
26   with Facebook, understand and measure their products and services, and better reach and serve
27   people who might be interested in their products and services.”
28          21.     One of those tools is Meta’s pixel, which is an invisible 1x1 web bug that website


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 1   owners can install on their websites to measure certain actions taken by users on their own
 2   websites, such as online purchases.
 3          22.     Meta describes its pixel as follows: “The Meta Pixel is a snippet of JavaScript code
 4   that allows you to track visitor activity on your website. It works by loading a small library of
 5   functions which you can use whenever a site visitor takes an action (called an event) that you
 6   want to track (called a conversion). Tracked conversions appear in the Ads Manager where they
 7   can be used to measure the effectiveness of your ads, to define custom audiences for ad targeting,
 8   for Advantage+ catalog ads campaigns, and to analyze that effectiveness of your website's
 9   conversion funnels.”
10          23.     The pixel has vast capabilities and can collect a large range of user data, including,
11   the following, according to Meta:
12
           HTTP Headers – Anything present in HTTP headers. HTTP Headers are a standard web
13          protocol sent between any browser request and any server on the internet. HTTP Headers
            include IP addresses, information about the web browser, page location, document, referrer
14          and person using the website.
15         Pixel-specific Data – Includes Pixel ID and the Facebook Cookie.
16         Button Click Data – Includes any buttons clicked by site visitors, the labels of those
            buttons and any pages visited as a result of the button clicks.
17

18         Optional Values – Developers and marketers can optionally choose to send additional
            information about the visit through Custom Data events. Example custom data events
19          are conversion value, page type and more.

20         Form Field Names – Includes website field names like email, address, quantity, etc., for
            when you purchase a product or service. We don't capture field values unless you include
21          them as part of Advanced Matching or optional values.
22
            24.     In May 2017, Meta added new functionality to “enhance” its tracking abilities by
23
     transmitting additional information to Facebook, including “actions on your page” and additional
24
     information about the website structure to better understand the context associated with any actions
25
     that are tracked. The new information also included button click data and page metadata from
26
     websites. The enhancements were automatically implemented to all pixels, including those that
27
     were installed on websites before the enhancements were available.
28


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 1          25.     The website communications collected by the tracking pixel are transmitted in real
 2   time to Meta’s servers, where the information is stored. The information also is transmitted to
 3   Meta while it is being sent from or received within California.
 4          26.     Meta explains “How the Facebook Pixel Works” in relevant part as follows: “When
 5   someone visits your website and takes an action (for example, buying something), the Facebook
 6   pixel is triggered and reports this action. This way, you’ll know when a customer took an action
 7   after seeing your Facebook ad.”
 8          27.     Meta has stated that “When someone takes an action that the [website] developer
 9   has chosen to measure on its website, the Meta Pixel is triggered and sends Meta certain data,
10   called an ‘Event.’ Meta attempts to match the Events it receives to Meta users. The developer can
11   then choose to show ads to users who have taken a certain action on their own website.”
12          28.     Meta has stated that the tracking pixel “log[s] when someone takes an action” such
13   as “adding an item to their shopping cart or making a purchase.”
14          29.     As soon as a website user takes any action on a webpage which includes the
15   tracking pixel—such as clicking a button to register, login, or logout of a website, Meta’s source
16   code commands the user’s device to re-direct the content of the communication to Meta while the
17   exchange of the communication between the user and the website is still occurring.
18          30.     By design, Meta receives the content of website communications as the website user
19   enters the information but before the website owner receives it.
20          31.     The Meta pixel matches website users to their corresponding Facebook.com profile.
21          32.     The tracking pixel utilizes “Automatic Advanced Matching.” Automatic Advanced
22   Matching enables the Meta pixel to “look for recognizable form field and other sources on your
23   website that contain information such as first name, last name and email.” The tracking pixel then
24   intercepts and transmits that information, “along with the event, or action, that took place.”
25          33.     Meta also uses various cookies to supplement the tracking pixel’s tracking practices.
26   Specifically, the pixel contains a script that causes the user’s browser to transmit to Meta
27   information from each of the Meta cookies already existing on the browser’s cache.
28          34.      Meta intercepts and collects this information so it can better match visitors to their


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 1   Facebook.com profiles, which in turn allows tax filing companies to better target their
 2   advertisements.
 3          35.     Meta intercepts and collects information from its pixel regardless of whether a user
 4   is logged into Facebook.com or has ever registered for an account.
 5          36.     Even if a user is not logged in, Meta can still associate the data with their IP address
 6   and all the websites that they have been to that contain the tracking pixel.
 7          37.     After collecting and intercepting this information, Meta processes it, analyzes it, and
 8   assimilates it into datasets like Core Audiences.
 9          38.     Meta’s tracking pixel is not simply a “tool” utilized by website owners for their own
10   purposes. Meta offers these technologies to companies for free because Facebook benefits too.
11   Meta says it can use the data it gleans from tools like the pixel to power its algorithms, providing it
12   insight into the habits of users across the internet. Indeed, the data obtained allows Meta to amass
13   huge amounts of data in a detailed dossier, or digital fingerprint, that it keeps on its users and other
14   website visitors.
15          39.     Meta uses data obtained from the tracking pixel to target users with advertisements
16   based on their interests. For example, Meta admitted that “[w]e use the information we have
17   (including your activity off our Products, such as the websites you visit and the ads you see) to help
18   advertisers and other partners measure the effectiveness and distribution of their ads and services,
19   and understand the types of people who use their services and how people interact with their
20   websites, apps, and services.”
21          40.     In short, Meta uses the data that it collects from the pixel to increase its ad revenue.
22          41.        The pixel is widely deployed across many industries.
23          42.     The pixel has been available to website developers since at least October 14, 2015.
24             Meta Secretly Hoovers Up Vast Amounts Of Private Tax Return Information
25          43.     Thanks to Meta’s pixel and business tools, the tax filing services H&R Block,
26   TaxAct, and TaxSlayer have been quietly transmitting sensitive financial information to Meta
27   when Americans file their taxes online.
28          44.     The information sent to Meta can be used by the company to power its advertising


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 1   algorithms and is gathered regardless of whether the person using the tax filing service has an
 2   account on Meta or other platforms operated by its owner, Meta.
 3          45.     H&R Block, TaxAct, and TaxSlayer are some of the most widely used e-filing
 4   services that had the tracking pixel deployed on their websites.
 5          46.     The type of data includes names and email addresses, data on users’ income, filing
 6   status, refund amounts, and dependents’ college scholarship amounts.
 7          47.     For example, a recently published report found that the pixel on TaxAct’s website
 8   sent users’ filing status, adjusted gross income, and the amount of refund to Meta. TaxAct has
 9   about three million users. Plaintiff Katrina Calderon was one of those users when she filed her
10   taxes this year for 2021. Since the tracking pixel was on the site at that time, and it operates always
11   and for everyone, Plaintiff Katrina Calderon’s tax return data would have been sent to Meta.
12          48.     H&R Block, which also has millions of users, reportedly transmitted information
13   about tax filers’ health savings account usage and dependents’ college tuition grants and expenses.
14          49.     TaxSlayer reportedly used the Meta tracking pixel’s “advanced matching” system
15   described above to transmit phone numbers, filer names, and the names of any dependents added to
16   the return. TaxSlayer completed 10 million federal and state tax returns last year. Plaintiff
17   Danielle Calderon was one of those users when she filed her taxes this year for 2021. Since the
18   tracking pixel was on the site at that time, and it operates always and for everyone, Plaintiff
19   Danielle Calderon’s tax return data would have been sent to Meta.
20          50.     Meta would have known, or at best recklessly turned a blind-eye, to the fact that it
21   was collecting vast amounts of confidential tax information. Income and other related financial
22   information is a highly valuable demographic marker for advertising purposes.
23          51.     Meta hires account managers or representatives to help website developers and
24   owners use the Meta Pixel and other tools. It is especially important to Meta to assist high-traffic
25   websites that provide advertising revenue to Meta. Through its account managers and
26   representatives, Meta would have been aware that it was receiving confidential tax and income
27   information.
28


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 1          Facebook Did Not Receive Consent To Receive Confidential Tax Information
 2          52.     In litigation, Meta’s position is that it has consent from Facebook.com users to
 3   obtain any information whatsoever that users disclose on third-party websites—no matter how
 4   sensitive or confidential, and even if the information is illegal to disclose.
 5          53.     In litigation, Meta’s position is that consent from Facebook.com users is derived
 6   from disclosures made in its Terms of Service, Data Policy, and Cookies Policy, and regardless of
 7   whether users saw those policies.
 8          54.     Meta’s Terms of Service has never specifically indicated that Meta may acquire
 9   confidential tax information obtained from Facebook users’ interactions on third-party online tax
10   preparation sites, like those offered by H&R Block, TaxAct, and TaxSlayer.
11          55.     Meta’s Data Policy has never specifically indicated that Meta may acquire
12   confidential tax information obtained from Facebook users’ interactions on third-party online tax
13   preparation sites, like those offered by H&R Block, TaxAct, and TaxSlayer.
14          56.     Meta’s Cookies Policy has never specifically indicated that Meta may acquire
15   confidential tax information obtained from Facebook users’ interactions on third-party online tax
16   preparation sites, like those offered by H&R Block, TaxAct, and TaxSlayer.
17          57.     Meta also makes false representations warranties that it does not collect sensitive
18   information like the information at issue here.
19          58.     Meta’s Business Tool Terms expressly provide that website developers will not
20   share data that they “know ore reasonably should know … includes health, financial or other
21   categories of sensitive information (including any information defined as sensitive under applicable
22   laws, regulations and applicable industry guidelines.” However, Meta does not enforce this policy.
23          59.     In Meta’s Advertising Policy, Meta states “[w]e do not use sensitive personal data
24   for ad targeting.” That statement is false.
25          60.     In a blog post titled “About Restricted Meta Business Tools Data,” Meta states,
26   falsely, that it does not “want websites or apps sending us sensitive information about people.”
27   Sensitive information includes “any information defined as sensitive under applicable laws,
28   regulations and applicable industry guidelines.”


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 1           61.    In an article titled, “How does Facebook receive informationfrom other businesses
 2   and organizations,” Meta reiterates its promise to “prohibit businessesor organizations from
 3   sharing sensitive information with us,” and if Meta “determine[s] that abusiness or an organization
 4   is violating our terms, we’ll take action against that business ororganization.” Those statements
 5   are false.
 6           62.    In another article, titled, “How does Meta work with data providers?” Metastates,
 7   “[b]usinesses that advertise on Facebook are required to have anynecessary rights and permissions
 8   to use this information, as outlined in our Custom Audience Termsthat businesses must agree to.”
 9   Meta does not enforce this policy.
10                                  CLASS ACTION ALLEGATIONS
11           63.    Plaintiffs seek to represent the following classes:
12           Nationwide Class: All people in the United States who used the online tax
             preparation providers H&R Block, TaxAct, or TaxSlayer while those websites
13           had the Facebook pixel installed on them.
14           California Class: All people in California who used the online tax preparation
             providers H&R Block, TaxAct, or TaxSlayer while those websites had the
15
             Facebook pixel installed on them.
16
             64.    Plaintiffs reserve the right to modify the class definition, including by using
17
     subclasses, as appropriate based on further investigation and discovery obtained in the case.
18
             65.    Members of the putative class and subclass are so numerous that their individual
19
     joinder herein is impracticable. On information and belief, members of the putative class and
20
     subclass number in the millions. The precise number of putative class and subclass members and
21
     their identities are unknown at this time but may be determined through discovery. Putative class
22
     and subclass members may be notified of the pendency of this action by mail and/or publication
23
     through the distribution records of Meta.
24
             66.    Common questions of law and fact exist as to all putative class and subclass
25
     members and predominate over questions affecting only individual class members. Common legal
26
     and factual questions include, but are not limited to, whether Defendant has violated wiretapping
27
     statutes at issue here; and whether class members are entitled to statutory damages for the
28


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 1   violations.
 2          67.      The claims of the named Plaintiffs are typical of the claims of the putative class and
 3   subclass because the named Plaintiffs, like all other class members, visited the websites of H&R
 4   Block, TaxAct, or TaxSlayer and had their electronic communications intercepted and disclosed to
 5   Facebook using the tracking pixel and/or other business tools.
 6          68.      Plaintiffs are adequate representatives of the putative class and subclass because her
 7   interests do not conflict with the interests of the class members she seeks to represent, she has
 8   retained competent counsel experienced in prosecuting class actions, and she intends to prosecute
 9   this action vigorously. The interests of putative class and subclass members will be fairly and
10   adequately protected by Plaintiff and her counsel.
11          69.      The class mechanism is superior to other available means for the fair and efficient
12   adjudication of the claims of putative class and subclass members. Each individual putative class
13   and subclass member may lack the resources to undergo the burden and expense of individual
14   prosecution of the complex and extensive litigation necessary to establish Defendant’s liability.
15   Individualized litigation increases the delay and expense to all parties and multiplies the burden on
16   the judicial system presented by the complex legal and factual issues of this case. Individualized
17   litigation also presents a potential for inconsistent or contradictory judgments. In contrast, the class
18   action device presents far fewer management difficulties and provides the benefits of single
19   adjudication, economy of scale, and comprehensive supervision by a single court on the issue of
20   Defendant’s liability. Class treatment of the liability issues will ensure that all claims and
21   claimants are before this Court for consistent adjudication of the liability issues.
22          70.      Plaintiffs bring all claims in this action individually and on behalf of members of the
23   putative class and subclass against Defendant.
24                                              COUNT I
                           Violation Of The California Invasion Of Privacy Act,
25                                        Cal. Penal Code § 631
26          71.      Plaintiffs repeat the allegations contained in the foregoing paragraphs as if fully set
27   forth herein.
28          72.      Plaintiffs bring this claim individually and on behalf of the members of the putative


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 1   class and subclass against Defendant.
 2          73.     To establish liability under section 631(a), a plaintiff need only establish that the
 3   defendant, “by means of any machine, instrument, contrivance, or in any other manner,” does any
 4   of the following:
 5                  Intentionally taps, or makes any unauthorized connection, whether
                    physically, electrically, acoustically, inductively or otherwise, with
 6                  any telegraph or telephone wire, line, cable, or instrument, including
                    the wire, line, cable, or instrument of any internal telephonic
 7                  communication system,

 8                  Or

 9                  Willfully and without the consent of all parties to the
                    communication, or in any unauthorized manner, reads or attempts to
10                  read or learn the contents or meaning of any message, report, or
                    communication while the same is in transit or passing over any wire,
11                  line or cable or is being sent from or received at any place within this
                    state,
12
                    Or
13
                    Uses, or attempts to use, in any manner, or for any purpose, or to
14                  communicate in any way, any information so obtained,

15                  Or

16                  Aids, agrees with, employs, or conspires with any person or persons
                    to unlawfully do, or permit, or cause to be done any of the acts or
17                  things mentioned above in this section.

18          74.     Section 631(a) is not limited to phone lines, but also applies to “new technologies”

19   such as computers, the Internet, and email. See Matera v. Google Inc., 2016 WL 8200619, at *21

20   (N.D. Cal. Aug. 12, 2016) (CIPA applies to “new technologies” and must be construed broadly to

21   effectuate its remedial purpose of protecting privacy); Bradley v. Google, Inc., 2006 WL 3798134,

22   at *5-6 (N.D. Cal. Dec. 22, 2006) (CIPA governs “electronic communications”); In re Facebook,

23   Inc. Internet Tracking Litigation, 956 F.3d 589 (9th Cir. Apr. 9, 2020) (reversing dismissal of

24   CIPA and common law privacy claims based on Facebook’s collection of consumers’ Internet

25   browsing history).

26          75.     The tracking pixel and related business tools are a “machine, instrument,

27   contrivance, or … other manner” used to engage in the prohibited conduct at issue here.

28          76.     At all relevant times, by using the Facebook Tracking Pixel, Defendant intentionally


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 1   tapped, electrically or otherwise, the lines of internet communication between Plaintiff and class
 2   members and the owners of the websites at issue here.
 3          77.      At all relevant times, by using the Facebook Tracking Pixel, Defendant willfully and
 4   without the consent of all parties to the communication, or in any unauthorized manner, read or
 5   attempted to read or learn the contents or meaning of electronic communications of Plaintiff and
 6   putative class members, while the electronic communications were in transit or passing over any
 7   wire, line or cable or were being sent from or received at any place within California.
 8          78.      Plaintiffs and putative class and subclass members did not consent to any of
 9   Defendant’s actions in implementing the wiretaps. Plaintiffs and putative class and subclass
10   members did not consent to Facebook’s access, interception, reading, learning, recording, and
11   collection of Plaintiffs and putative class and subclass members' electronic communications.
12          79.      Plaintiffs and putative class and subclass members seek all relief available under
13   Cal. Penal Code § 637.2, including injunctive relief and statutory damages of $5,000 per violation.
14                                              COUNT II
                           Violation Of The California Invasion Of Privacy Act,
15                                        Cal. Penal Code § 632
16          80.      Plaintiffs repeat the allegations contained in the paragraphs above as if fully set
17   forth herein.
18          81.      Plaintiffs bring this Count individually and on behalf of the members of the putative
19   class and subclass.
20          82.      The California invasion of Privacy Act (“CIPA”) is codified at Cal. Penal Code §§
21   630 to 638. The Act begins with its statement of purpose
22          The Legislature hereby declares that advances in science and technology have led to
            the development of new devices and techniques for the purpose of eavesdropping
23          upon private communications and that the invasion of privacy resulting from the
            continual and increasing use of such devices and techniques has created a serious
24          threat to the free exercise of personal liberties and cannot be tolerated in a free and
            civilized society.
25
            Cal. Penal Code § 630.
26
            83.      California Penal code § 632(a) provides, in pertinent part:
27
            A person who, intentionally and without the consent of all parties to a confidential
28          communication, uses an electronic amplifying or recording device to eavesdrop

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 1          upon or record the confidential communication, whether the communication is
            carried on among the parties in the presence of one another or by means of a
 2          telegraph, telephone, or other device, except a radio, shall be punished by a fine not
            exceeding two thousand five hundred dollars ($2,500) per violation.
 3
            84.      A defendant must show it had the consent of all parties to a communication.
 4
            85.      Meta’s pixel and related backend and frontend code is “an electronic amplifying or
 5
     recording device” under the CIPA.
 6
            86.      The data collected by Meta constitutes “confidential communications,” as that term
 7
     is used in Section 632, because class members had objectively reasonable expectations of privacy
 8
     with respect to their tax filing information.
 9
            87.      Pursuant to Cal. Penal Code § 637.2, Plaintiff and class members have been injured
10
     by the violations of Cal. Penal Code § 635, and each seek damages for the greater of $5,000 or
11
     three times the amount of actual damages, as well as injunctive relief.
12
                                               COUNT III
13                         Violation Of The California Invasion Of Privacy Act,
                                          Cal. Penal Code § 635
14
            88.      Plaintiffs repeat the allegations contained in the foregoing paragraphs as if fully set
15
     forth herein.
16
            89.      Plaintiffs bring this claim individually and on behalf of the members of the putative
17
     class and subclass members against Defendant.
18
            90.      California Penal Code § 635 provides, in pertinent part:
19
                     Every person who manufactures, assembles, sells, offers for sale,
20                   advertises for sale, possesses, transports, imports, or furnishes to
                     another any device which is primarily or exclusively designed or
21                   intended for eavesdropping upon the communication of another, or
                     any device which is primarily or exclusively designed or intended for
22                   the unauthorized interception or reception of communications
                     between cellular radio telephones or between a cellular radio
23                   telephone and a landline telephone in violation of Section 632.5, or
                     communications between cordless telephones or between a cordless
24                   telephone and a landline telephone in violation of Section 632.6 ,
                     shall be punished by a fine not exceeding two thousand five hundred
25                   dollars ….
26          91.      At all relevant times, by implementing Meta’s wiretaps, Meta intentionally

27   manufactured, assembled, sold, offered for sale, advertised for sale, possessed, transported,

28   imported, and/or furnished a wiretap device that is primarily or exclusively designed or intended


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 1   for eavesdropping upon the communication of another.
 2          92.      The Facebook Tracking Pixel is a “device” that is “primarily or exclusively
 3   designed” for eavesdropping. That is, the Facebook Tracking Pixel is designed to gather
 4   information about what URLs users visit and what they search for.
 5          93.      Plaintiffs and putative class and subclass members did not consent to any of
 6   Defendant’s actions in implementing Facebook’s wiretaps.
 7          94.      Pursuant to Cal. Penal Code § 637.2, Plaintiffs and putative class and subclass
 8   members have been injured by the violations of Cal. Penal Code § 635, and each seek damages for
 9   the greater of $5,000 or three times the amount of actual damages, as well as injunctive relief.
10                                             COUNT IV
                      Violation Of The Federal Wiretap Act, 18 U.S.C. § 2510, et seq.
11
            95.      Plaintiffs repeat the allegations contained in the paragraphs above as if fully set
12
     forth herein.
13
            96.      Plaintiffs bring this claim individually and on behalf of the members of the putative
14
     class and subclass members against Defendant.
15
            97.      The Federal Wiretap Act, as amended by the Electronic Communications Privacy
16
     Act of 1986, prohibits the intentional interception of the contents of any wire, oral, or electronic
17
     communications through the use of a device. 18 U.S.C. § 2511.
18
            98.      The Wiretap Act protects both the sending and receiving of communications.
19
            99.      18 U.S.C. § 2520(a) provides a private right of action to any person whose wire,
20
     oral or electronic communication is intercepted.
21
            100.     Meta’s actions in intercepting and tracking the information at issue here was
22
     intentional, and done for the purpose of violating laws prohibiting the unlawful disclosure and
23
     review of tax information.
24
            101.     Meta’s intentional interception of internet communications that Plaintiff and Class
25
     members were sending and receiving while navigating websites that integrated Facebook’s
26
     Business Tools was done contemporaneously with the Plaintiffs’ and Class members’ sending and
27
     receipt of those communications.
28


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 1          102.     The communications intercepted by Meta included “contents” of electronic
 2   communications made from Plaintiffs.
 3          103.     The transmission of data between Plaintiffs and Class members were “transfer[s] of
 4   signs, signals, writing, … data, [and] intelligence of [some] nature transmitted in whole or in part
 5   by a wire, radio, electromagnetics, photoelectronic, or photooptical system that affects interstate
 6   commerce[,]” and were therefore “electronic communications” within the meaning of 18 U.S.C. §
 7   2510(12).
 8          104.     Meta’s pixel and business tools are “devices” within the meaning of 18 U.S.C.
 9   2510(5):
10          105.     Meta was not an authorized party to the communications because Plaintiffs and
11   Class members were unaware of Meta’s monitoring. Class members did not consent to Meta’s
12   interception or continued gathering of the user’s communications.
13          106.     The interception by Meta were unlawful and tortious, and were done in furtherance
14   of one or more crimes baring disclosure or review of confidential tax information, and tortious
15   invasion of privacy.
16          107.     After intercepting the communications, Meta used the contents of the
17   communications knowing or having reason to know that such information was obtained through
18   the interception of electronic communications in violation of 18 U.S.C. § 2511(a).
19          108.     Plaintiffs seek all available relief for the violations asserted here.
20                                               COUNT IV
21                          Violation Of The Federal Wiretap Act, 18 U.S.C. § 2512
            109.     Plaintiffs repeat the allegations contained in the foregoing paragraphs as if fully set
22
     forth herein.
23
            110.     Plaintiffs bring this claim individually and on behalf of the members of the putative
24
     class and subclass against Defendant.
25
            111.     18 U.S.C. § 2512, in pertinent part, holds “any person” liable who manufactures,
26
     assembles, or sells “any electronic, mechanical, or other device, knowing or having reason to know
27
     that the design of such device renders it primarily useful for the purpose of the surreptitious
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                           15
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 1   interception of wire, oral, or electronic communications, and that such device or any component
 2   thereof has been or will be sent through the mail or transported in interstate or foreign commerce.
 3   18 U.S.C. § 2512(1)(b).
 4          112.    The technology at issue here is an “electronic, mechanical, or other device” as
 5   defined by 18 U.S.C. § 2510(5), and is primarily useful for the purpose of the surreptitious
 6   interception of electronic communications.
 7          113.    Defendant manufactured, marketed, and sold its technology with knowledge that it
 8   would primarily be used to illegally intercept electronic communications.
 9          114.    Defendant conduct violated 18 U.S.C. § 2512 and therefore gives rise to a claim
10   under 18 U.S.C. § 2520.
11          115.    Pursuant to 18 U.S.C. § 2520, Plaintiffs and the putative class and subclass are
12   entitled to the greater of actual damages or statutory damages or not less than $100 a day for each
13   day of violation or $10,000, whichever is greater.
14
                                                COUNT V
15                        Invasion of Privacy (Common Law and Constitutional)
16          116.    Plaintiffs repeat the allegations contained in the above paragraphs as if fully set
17   forth here.
18          117.    Plaintiffs bring this claim individually and on behalf of the members of the putative
19   class and subclass against Defendant.
20          118.    Article I, section I of the California Constitution provides: “All people are by nature
21   free and independent and have inalienable rights. Among these are enjoying and defending life and
22   liberty, acquiring, possessing, and protecting property and pursuing and obtaining safety,
23   happiness, and privacy.”
24          119.    The phrase “and privacy” was added in 1972 after voters approved a proposed
25   legislative constitutional amendment designated as Proposition 11. Critically, the argument in
26   favor of Proposition 11 reveals that the legislative intent was to curb businesses’ control over the
27   unauthorized collection and use of consumers’ personal information, stating:
28


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 1           The right of privacy is the right to be left alone. … It prevents government and
             business interests from collecting and stockpiling unnecessary information about us
 2           and from misusing information gathered for one purpose in order to serve other
             purposes or to embarrass us. Fundamental to our privacy is the ability to control
 3           circulation of personal information. This is essential to social relationships and
             personal freedom.
 4
             120.      The principal purpose of this constitutional right was to protect against unnecessary
 5
     information gathering, use, and dissemination by public and private entities, including Facebook.
 6
             121.      As described herein, Meta has intruded upon the following legally protected privacy
 7
     interests:
 8
                  a.   The Federal Wiretap Act as alleged herein;
 9
                  b. The California Wiretap Act as alleged herein;
10
                  c. A Fourth Amendment right to privacy contains on personal computing devices, as
11
                       explained by the United States Supreme Court in the unanimous decision of Riley v.
12
                       California;
13
                  d. The California Constitution, which guarantees Californians the right to privacy;
14
                  e. Facebook’s Data Usage Policy, Cookie Policy, and Terms of Use, and other public
15
                       promises it made not to track or intercept class members’ sensitive or unlawfully-
16
                       disclosed communications;
17
                  f. Federal and state statutory prohibitions on the disclosure or review of tax
18
                       information
19
             122.      Class members had a reasonable expectation of privacy under the circumstances in
20
     that they could not reasonably expect Meta to commit acts in violation of federal and state civil and
21
     criminal laws; and Meta affirmatively promised users it would not track their communications or
22
     access their computer devices or web-browser when they sent or received sensitive or otherwise
23
     protected information, like their personally identifiable information.
24
             123.      Meta’s actions constituted a serious invasion of privacy in that:
25
                  a. Invaded a zone of privacy protected by the Fourth Amendment, namely the right to
26
                       privacy in data contained on personal computing devices;
27
                  b. Violated several federal criminal laws, including the Wiretap Act;
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                           17
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 1               c. Violated state criminal laws on wiretapping and invasion of privacy, including the
 2                   California Invasion of Privacy Act;
 3               d. Invaded the privacy rights of tens of millions of Americans (including Plaintiff and
 4                   the Class members) without their consent;
 5               e. Constituted the taking of valuable information from tens of millions of Americans
 6                   through deceit; and
 7               f. Violated several federal criminal laws prohibiting the disclosure and review of tax
 8                   information.
 9            124.   Committing criminal acts against tens of millions of Americans constitutes an
10   egregious breach of social norms that is highly offensive.
11            125.   Meta’s intentional intrusion into class members’ internet communications and their
12   computing devices and web-browsers was highly offensive to a reasonable person in that Meta
13   violated federal and state criminal and civil laws designed to protect individual privacy and against
14   theft.
15            126.   The taking of personally identifiable information from tens of millions of
16   Americans through deceit is highly offensive behavior.
17            127.   Secret monitoring of a video platform is highly offensive behavior.
18            128.   Wiretapping and surreptitiously recording of communications is highly offensive
19   behavior.
20            129.   Meta lacked a legitimate business interest in tracking users’ tax filing information.
21            130.   Class members have been damaged by Meta’s invasion of their privacy and are
22   entitled to just compensation and injunctive relief.
23
                                                  COUNT VI
24                                         Intrusion Upon Seclusion
25            131.   Plaintiffs incorporate the paragraphs contained above as if fully set forth herein.
26            132.   Plaintiffs bring this claim individually and on behalf of the members of the putative
27   class and subclass against Defendant.
28


     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                            18
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 1          133.    In carrying out this scheme to track and intercept tax filing information, Meta
 2   intentionally intruded upon class members’ solicitude or seclusion in that it effectively placed itself
 3   in the middle of conversation to which it was not an authorized party.
 4          134.    Meta’s tracking and interception were not authorized by class members.
 5          135.    Meta’s intentional intrusion into their internet communications and their computing
 6   devices and web-browsers was highly offensive to a reasonable person in that they violated federal
 7   and state criminal and civil laws designed to protect individual privacy and against theft.
 8          136.    Secret monitoring of tax filing information is highly offensive behavior.
 9          137.    Wiretapping and surreptitiously recording of communications is highly offensive
10   behavior.
11          138.    Public polling on internet tracking has consistently revealed that the overwhelming
12   majority of Americans believe it is important or very important to be “in control of who can get
13   information” about them; to not be tracked without their consent; and to be in “control[] of what
14   information is collected about [them].” The desire to control one’s information is only heightened
15   while a person is preparing their tax filings.
16          139.    Class members have been damaged by Meta’s intrusion upon their seclusion and are
17   entitled to reasonable compensation including but not limited to disgorgement of profits related to
18   the unlawful internet tracking.
19                                         PRAYER FOR RELIEF
20          WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, seek
21   judgment against Meta, as follows:
22          a.      For an order certifying the putative class and subclass and naming Plaintiffs as the
23                  representatives of the putative class and subclass and Plaintiffs’ attorneys as Class
24                  Counsel to represent the putative class and subclass members;
25          b.      For an order declaring that the Defendant’s conduct violates the statutes referenced
26                  herein;
27          c.      For an order finding in favor of Plaintiffs and the putative class and subclass on all
28                  counts asserted herein;


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 1         d.      For statutory damages in amounts to be determined by the Court and/or jury;
 2         e.      For prejudgment interest on all amounts awarded;
 3         f.      For injunctive relief as pleaded or as the Court may deem proper; and
 4         g.      For an order awarding Plaintiffs and the putative class and subclass their reasonable
 5                 attorneys’ fees and expenses and costs of suit.
 6                                      JURY TRIAL DEMANDED
 7         Plaintiffs demand a trial by jury on all claims so triable.
 8
     Dated: December 29, 2022                       BURSOR & FISHER, P.A.
 9
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10
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15                                                  Attorneys for Plaintiffs
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     CLASS ACTION COMPLAINT – JURY TRIAL DEMANDED                                                     20
